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     (continues on signature page)
17
18                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
19                                SAN FRANCISCO DIVISION
20   Jingna Zhang, an individual;                              Case No.
21   Sarah Andersen, an individual;
     Hope Larson, an individual; and                           Complaint
22   Jessica Fink, an individual;
23                                                             Class Action
                  Individual and Representative Plaintiffs,
24                                                             Demand for Jury Trial
            v.
25
     Google LLC, a Delaware limited liability company; and
26   Alphabet Inc., a Delaware corporation;
27                                               Defendants.
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1           Plaintiﬀs Jingna Zhang, Sarah Andersen, Hope Larson, and Jessica Fink (together “Plaintiﬀs”),
2    on behalf of themselves and all others similarly situated, bring this class-action complaint
3    (“Complaint”) against defendants Google LLC (“Google”) and Alphabet Inc. (“Alphabet”) (together
4    “Defendants”).
5
6                                                 OVERVIEW
7           1.      Artificial intelligence—commonly abbreviated “AI”—denotes software that is designed
8    to algorithmically simulate human reasoning or inference, often using statistical methods.
9           2.      Imagen is an AI software product created, maintained, and sold by Google. Imagen is a
10   text-to-image diﬀusion model. A text-to-image diﬀusion model takes as input a short text description of
11   an image (also known as a text prompt) and then uses a machine-learning technique called diﬀusion to

12   generate an image in response to the prompt.
13          3.      Rather than being programmed in the traditional way—that is, by human programmers
14   writing code—a diﬀusion model is trained by copying an enormous quantity of digital images with
15   associated text captions, extracting protected expression from these works, and transforming that
16   protected expression into a large set of numbers called weights that are stored within the model. These
17   weights are entirely and uniquely derived from the protected expression in the training dataset.

18   Whenever a diﬀusion model generates an image in response to a user prompt, it is performing a
19   computation that relies on these stored weights, with the goal of imitating the protected expression
20   ingested from the training dataset.
21          4.      Training a model first requires amassing a huge corpus of data, called a dataset. The AI
22   models at issue in this complaint were trained on datasets containing millions of images paired with
23   descriptive captions. In this complaint, each image–caption pair is called a training image. During
24   training of the model, the training images in the dataset are directly copied in full and then completely
25   ingested by the model, meaning that protected expression from every training image enters the model.
26   As it copies and ingests billions of training images, the model progressively develops the ability to
27   generate outputs that mimic the protected expression copied from the dataset.
28
30                                               1 · complaint
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1           5.      Plaintiﬀs and Class members are visual artists. They own registered copyrights in
2    certain training images that Google has admitted copying to train Imagen. Plaintiﬀs and Class members
3    never authorized Google to use their copyrighted works as training material.
4           6.      These copyrighted training images were copied multiple times by Google during the
5    training process for Imagen. Because Imagen contains weights that represent a transformation of the
6    protected expression in the training dataset, Imagen is itself an infringing derivative work.
7           7.      Alphabet, as the corporate parent of Google, also commercially benefits from these acts
8    of massive copyright infringement.
9
10                                    JURISDICTION AND VENUE
11          8.      This Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because this case

12   arises under the Copyright Act (17 U.S.C. § 501).
13          9.      Jurisdiction and venue are proper in this judicial district under 28 U.S.C. § 1391(c)(2)
14   because Defendants are headquartered in this district. Google created the Imagen model and, in
15   cooperation with Alphabet, distributes it commercially. Therefore, a substantial part of the events
16   giving rise to the claim occurred in this District. A substantial portion of the aﬀected interstate trade
17   and commerce was carried out in this District. Defendants have transacted business, maintained

18   substantial contacts, and/or committed overt acts in furtherance of the illegal scheme and conspiracy
19   throughout the United States, including in this District. Defendants’ conduct has had the intended and
20   foreseeable eﬀect of causing injury to persons residing in, located in, or doing business throughout the
21   United States, including in this District.
22          10.     Under Civil Local Rule 3-2(c), assignment of this case to the San Francisco Division is
23   proper because this case pertains to intellectual-property rights, which under General Order No. 44 is
24   deemed a district-wide case category, and therefore venue is proper in any courthouse in this District.
25
26                                                PLAINTIFFS
27          11.     Plaintiﬀ Jingna Zhang is a photographer who lives in Washington.
28          12.     Plaintiﬀ Sarah Andersen is a cartoonist and illustrator who lives in Oregon.
30                                                2 · complaint
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1              13.     Plaintiﬀ Hope Larson is a cartoonist and illustrator who lives in North Carolina.
2              14.     Plaintiﬀ Jessica Fink is a cartoonist and illustrator who lives in New York.
3              15.     A nonexhaustive list of registered copyrights owned by Plaintiﬀs is included as
4    Exhibit A: Plaintiﬀ Copyright Registrations. A nonexhaustive list of copyrighted images registered
5    by Plaintiﬀs and infringed by Defendants is included as Exhibit B: Plaintiﬀ Images in LAION-400M.
6              16.     The images shown in Exhibit B are oﬀered as a representative sample of works by
7    Plaintiﬀs that appear in the LAION-400M dataset—not an exhaustive or complete list. Plaintiﬀs
8    confirmed that these particular images were in the LAION-400M dataset by searching for their own
9    names on two websites that allow searching of the LAION datasets: https://haveibeentrained.com and
10   https://rom1504.github.io/clip-retrieval/. On information and belief, all of Plaintiﬀs’ works that were
11   registered as part of the collections in Exhibit A and were online were scraped into the LAION-400M

12   dataset.
13
14                                                DEFENDANTS
15             17.     Defendant Google LLC is a Delaware limited liability company with its principal place
16   of business at 1600 Amphitheatre Parkway, Mountain View CA 94043.
17             18.     Defendant Alphabet Inc. is a Delaware corporation with its principal place of business at

18   1600 Amphitheatre Parkway, Mountain View CA 94043. In 2015, Google became a subsidiary of
19   Alphabet.
20
21                                  AGENTS AND CO-CONSPIRATORS
22             19.     The unlawful acts alleged against the Defendants in this Complaint were authorized,
23   ordered, or performed by the Defendants’ respective oﬃcers, agents, employees, representatives, or
24   shareholders while actively engaged in the management, direction, or control of the Defendants’
25   businesses or aﬀairs. The Defendants’ agents operated under the explicit and apparent authority of
26   their principals. Each Defendant, and its subsidiaries, aﬃliates, and agents operated as a single unified
27   entity.
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1           20.     Various persons or firms not named as defendants may have participated as co-
2    conspirators in the violations alleged herein and may have performed acts and made statements in
3    furtherance thereof. Each acted as the principal, agent, or joint venture of, or for other Defendants with
4    respect to the acts, violations, and common course of conduct alleged herein.
5
6                                        FACTUAL ALLEGATIONS
7           21.     Google is a diversified technology company whose lines of business include internet
8    advertising and cloud-computing services. As part of these businesses, Google creates and distributes
9    artificial-intelligence software products.
10          22.     One such product is Imagen, a text-to-image diﬀusion model that takes as input a short
11   text description of an image and then uses AI techniques to generate an image in response to the

12   prompt.
13          23.     In May 2022, Google announced Imagen in a paper called “Photorealistic Text-to-
14   Image Diﬀusion Models with Deep Language Understanding.”1 In the paper, Google admits that it
15   trained Imagen on “the publicly available Laion [sic] dataset … with ≈ 400M image-text pairs.”2
16          24.     Initially, Google did not release Imagen to the public. Google explained its reasoning on
17   the website for Imagen: “the data requirements of text-to-image models have led researchers to rely

18   heavily on large, mostly uncurated, web-scraped datasets … we also utilized LAION-400M dataset
19   which is known to contain a wide range of inappropriate content including pornographic imagery, racist
20   slurs, and harmful social stereotypes … As such, there is a risk that Imagen has encoded harmful
21   stereotypes and representations, which guides our decision to not release Imagen for public use without
22   further safeguards in place.”3
23          25.     LAION-400M also contains copyrighted works owned by Plaintiﬀs and the Class,
24   including those in Exhibit B.
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     1
       Available at https://arxiv.org/abs/2205.11487
     2
       Id. at 7.
28   3
       See https://imagen.research.google/
30                                                4 · complaint
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1           26.     Despite its professed commitment to “not release Imagen for public use without further
2    safeguards,”4 Google soon reversed course.
3           27.     In November 2022, Google made Imagen publicly available to a select group of users
4    through its AI Test Kitchen app. According to reporting at the time, Google “announced it will be
5    adding Imagen—in a very limited form—to its AI Test Kitchen app as a way to collect early feedback on
6    the technology.”5
7           28.     In January 2023, plaintiﬀ Sarah Andersen and two other artists filed the first lawsuit in
8    the U.S. challenging the legality of training text-to-image diﬀusion models on copyrighted work without
9    consent, credit, or compensation. That case, Andersen v. Stability AI et al., (Case No. 23-cv-00201,
10   N.D. Cal.) challenged two models similar to Imagen—called Stable Diﬀusion and Midjourney—both
11   of which were also trained on the LAION dataset. (The Andersen case is currently proceeding.)

12          29.     In May 2023, Google made Imagen even more widely available through its commercial
13   AI cloud-computing service, called Vertex AI. According to a Google blog post about Vertex AI,
14   Google described it as “Imagen, our text-to-image foundation model, lets organizations generate and
15   customize studio-grade images at scale for any business need.”6
16          30.     In October 2023, Google made Imagen even more widely available through a tool called
17   Search Generative Experience. According to reporting at the time, “If you’re opted in to [Search

18   Generative Experience] through Google’s Search Labs program, you can just type your query into the
19   Google search bar. After you do, [Search Generative Experience] can create a few images based on your
20   prompt that you can pick from. The tool is powered by the Imagen family of AI models.”7
21          31.     In December 2023, Google released the successor to Imagen, called Imagen 2. Unlike
22   the paper that accompanied the initial version of Imagen, Google’s introduction of Imagen 2 carefully
23
24   4
      Id.
25   5
      See https://www.theverge.com/2022/11/2/23434361/google-text-to-image-ai-model-imagen-test-
     kitchen-app
26   6
       See https://cloud.google.com/blog/products/ai-machine-learning/google-cloud-launches-new-ai-
27   models-opens-generative-ai-studio
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     7
       See https://www.theverge.com/2023/10/12/23913337/google-ai-powered-search-sge-images-written-
     drafts
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1    omits a detailed description of its training dataset. Google limits itself to vague comments such as
2    “From the outset, we invested in training data safety for Imagen 2, and added technical guardrails to
3    limit problematic outputs like violent, oﬀensive, or sexually explicit content.”8
4           32.     On information and belief, Google did not disclose details about the training dataset for
5    Imagen 2 because it was aware of the Andersen v. Stability AI et al. case and hoped to avoid being named
6    as a defendant in a lawsuit over the legality of training on mass quantities of copyrighted works without
7    consent, credit, or compensation.
8           33.     On information and belief, Google included LAION-400M in its training dataset for
9    Imagen 2, because a) it had already done so for the first version of Imagen, and b) one of the architects
10   of the LAION image datasets, Romain Beaumont, is a Google employee, who Google hired specifically
11   to exercise influence over the LAION organization and its image datasets.

12
13                A KEY SOURCE OF GOOGLE’S TRAINING DATA: LAION
14          34.     LAION (acronym for “Large-Scale Artificial Intelligence Open Network”) is an
15   organization based in Hamburg, Germany. According to its website, LAION is led by Christoph
16   Schuhmann. LAION’s stated goal is “to make large-scale machine learning models, datasets and
17   related code available to the general public.”9 All of LAION’s projects are made available for free.

18          35.     Since 2021, a key member of LAION’s team has been Romain Beaumont, who describes
19   himself on the LAION website as an “open source contributor … I like to apply scale and deep learning
20   to build AI apps and models.”10
21          36.     LAION’s most well-known projects are the datasets of training images it has released
22   for training machine-learning models, which are now widely used in the AI industry.
23          37.     In August 2021, LAION released LAION-400M, a dataset of 400 million training
24   images assembled from images accessible on the public internet. At the time, LAION-400M was the
25   largest freely available dataset of its kind. Until December 2023, LAION distributed the LAION-400M
26
27
     8
       See https://deepmind.google/technologies/imagen-2/
     9
       https://laion.ai/about/
28   10
        See https://laion.ai/team/
30                                               6 · complaint
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1    dataset to the public through its own website and elsewhere. (In December 2023, due to the discovery
2    of child sexual-abuse material (“CSAM”) in the LAION datasets, the LAION organization retracted
3    these datasets—including LAION-400M—from the public internet.)
4           38.     Also in August 2021, Romain Beaumont created an online tool called Clip Retrieval that
5    acted as a search interface to LAION to check whether certain artists or artworks were included in the
6    LAION-400M dataset.11 Beaumont’s tool was popular. It was online until December 2023. (In
7    December 2023, it was disabled due to the aforementioned issues with CSAM in the LAION datasets.)
8           39.     In November 2021, Romain Beaumont was a primary author of the paper that
9    introduced the LAION-400M dataset, titled “LAION-400M: Open Dataset of CLIP-Filtered 400
10   Million Image-Text Pairs,” released in November 2021 (hereafter, the “Beaumont–LAION Paper”).12
11          40.     When one downloads the LAION-400M dataset, one gets a list of metadata records,

12   one for each training image. Each record includes the URL of the image, the image caption, a
13   measurement of the similarity of the caption and image, a NSFW flag (indicating the probability the
14   image contains so-called “not safe for work” content), and the width and height of the image.
15          41.     The actual images referenced in the LAION-400M dataset records are not included
16   with the dataset. Anyone who wishes to use LAION-400M for training their own machine-learning
17   model must first acquire copies of the actual images from their URLs. To facilitate the copying of these

18   images, Romain Beaumont created a software tool called `img2dataset` that takes the LAION-400M
19   metadata records as input and makes copies of the referenced images from the URLs in each metadata
20   record, thereby creating local copies. The `img2dataset` tool is distributed from a page Beaumont
21   controls on GitHub.13 LAION promotes the `img2dataset` tool in its documentation for LAION-
22   400M. (“This metadata dataset purpose is to download the images for the whole dataset or a subset of
23   it by supplying it to the very eﬃcient `img2dataset` tool.”14)
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26   11
        See https://rom1504.github.io/clip-retrieval
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     12
        https://arxiv.org/abs/2111.02114
     13
        https://github.com/rom1504/img2dataset
28   14
        See https://laion.ai/blog/laion-400-open-dataset/
30                                               7 · complaint
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1             42.     Training a model with the LAION-400M dataset cannot begin without first using
2    `img2dataset` or another similar tool to download the images in the dataset. Thus, because Google has
3    trained Imagen on LAION-400M, Google has necessarily made one or more copies of images
4    belonging to Plaintiﬀs as shown in Exhibit B, either by using Romain Beaumont’s `img2dataset` tool or
5    another. Plaintiﬀs never authorized any of these LAION dataset users to copy their images or use them
6    for training any models.
7             43.     One of the entities that has made unauthorized copies of the LAION-400M training
8    images is LAION itself. According to the Beaumont–LAION Paper, LAION made the dataset by
9    starting with Common Crawl metadata records. Common Crawl is a corpus of 250 billion web pages
10   copied from the public web, including assets like Plaintiﬀs’ images (https://commoncrawl.org/). The
11   metadata records contain web URLs. According to the Beaumont–LAION Paper, LAION created

12   training images by first “pars[ing] through [the metadata records] from Common Crawl and pars[ing]
13   out all HTML IMG tags containing an alt-text attribute [that is, a text caption].” Then, LAION
14   “download[ed] the raw images from the parsed URLs”. Beaumont–LAION Paper at 3.
15            44.     Sometime after the release of LAION-400M in August 2021, a company called
16   Stability AI funded LAION’s creation of a similar dataset, but much larger. In March 2022, Stability AI
17   CEO Mostaque called himself “the biggest backer of LAION.”15

18            45.     But Google wasn’t far behind. In March 2022, Google hired Romain Beaumont as a full-
19   time software engineer, a position he has held since. On information and belief, Google hired Beaumont
20   primarily to influence the creation of future LAION image datasets, based on a) Beaumont’s key role
21   creating LAION-400M—which Google used to train Imagen; b) Beaumont’s control of the
22   `img2dataset` tool that was essential to using the LAION-400M dataset, and c) Beaumont’s control of
23   the Clip Retrieval website that was essential to searching the LAION-400M dataset.
24            46.     Later in March 2022, LAION released LAION-5B, a dataset of 5.85 billion training
25   images—more than 14 times bigger than LAION-400M. The author of the LAION blog post
26   announcing LAION-5B was Romain Beaumont.16
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     15
          https://discord.com/channels/662267976984297473/938713143759216720/954674533942591510
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          See https://laion.ai/blog/laion-5b/
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1              47.     In August 2022, Romain Beaumont created a specialized AI model to rate the aesthetic
2    quality of an image, and used this model to create subsets of the LAION-5B training images filtered by
3    aesthetic quality, which Beaumont called LAION-Aesthetics. In its introduction of Imagen 2 in
4    December 2023, Google said “We trained a specialized image aesthetics model based on human
5    preferences for qualities like good lighting, framing, exposure, sharpness, and more. Each image was
6    given an aesthetics score which helped condition Imagen 2 to give more weight to images in its training
7    dataset that align with qualities humans prefer.”17 On information and belief, Beaumont’s work on
8    LAION-Aesthetics formed the basis of Imagen 2’s “aesthetics model”, since at the time Beaumont was
9    both a contributor to LAION and a full-time employee of Google.
10             48.     In October 2022, Romain Beaumont was a primary author of the paper about LAION-
11   5B, called “LAION-5B: An open large-scale dataset for training next generation image-text models.”

12   (hereafter, the “Beaumont–LAION-5B Paper”). According to the Beaumont–LAION-5B Paper,
13   LAION-400M is a subset of LAION-5B, meaning every image in LAION-400M is also in LAION-5B.
14             49.     Just like the LAION-400M dataset, the actual images referenced in the LAION-5B
15   dataset records are not included with the dataset. Anyone who wishes to use LAION-5B for training
16   their own machine-learning model must first acquire copies of the actual images from their URLs. As
17   mentioned above, to facilitate the copying of these images, Romain Beaumont created a software tool

18   called `img2dataset` that takes the LAION-5B metadata records as input and makes copies of the
19   referenced images from the URLs in each metadata record, thereby creating local copies. The
20   `img2dataset` tool is distributed from a page Beaumont controls on GitHub.18
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          See https://deepmind.google/technologies/imagen-2/
28   18
          https://github.com/rom1504/img2dataset
30                                                9 · complaint
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1                                                     COUNT 1
2                         Direct Copyright Infringement (17 U.S.C. § 501)
3                                                against Google
4              50.     The preceding factual allegations are incorporated by reference.
5              51.     As the owners of the registered copyrights in the works in Exhibit B, Plaintiﬀs hold the
6    exclusive rights to those works under the U.S. Copyright Act (17 U.S.C. § 106).
7              52.     Plaintiﬀs never authorized Google to use their copyrighted work in any way.
8    Nevertheless, Google repeatedly violated Plaintiﬀs’ exclusive rights under § 106 and continues to do so
9    today. Plaintiﬀs and the Class members never authorized Google to make copies of their works, make
10   derivative works, publicly display copies (or derivative works), or distribute copies (or derivative
11   works).

12             53.     On information and belief, Google has used Plaintiﬀs’ training images to train other
13   versions of Imagen, including Imagen 2, and so-called “multimodal” models that are trained on
14   training images as well as text, such as Google Gemini. Collectively, Imagen and other models that
15   Google trained on LAION-400M are called the Google–LAION Models.
16             54.     The LAION-400M dataset contains only URLs of training images, not the actual
17   training images. Therefore, anyone who wishes to use LAION-400M for training their own machine-

18   learning model must first acquire copies of the actual training images from their URLs. Consistent with
19   this, in preparation for training the Google–LAION Models, Google made one or more copies of the
20   LAION-400M training images, including the Plaintiﬀ works in Exhibit B, so they could be fed to the
21   Google–LAION Models as training data. The copies made of each copyrighted work were substantially
22   similar to that copyrighted work.
23             55.     During the training of the Google–LAION Models, Google made a series of
24   intermediate copies of the LAION-400M training images, including the Plaintiﬀ works in Exhibit B.
25   The intermediate copies of each copyrighted work that Google made during training of the Google–
26   LAION Models were substantially similar to that copyrighted work.
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1              56.     Plaintiﬀs have been injured by Google’s acts of direct copyright infringement. Plaintiﬀs
2    are entitled to statutory damages, actual damages, restitution of profits, and other remedies provided
3    by law.
4
5                                                    COUNT 2
6                                  Vicarious Copyright Infringement
7                                                 against Alphabet
8              57.     The preceding factual allegations are incorporated by reference.
9              58.     Alphabet was the corporate parent of Google during its training of the Google–LAION
10   Models and remains its corporate parent.
11             59.     As the corporate parent of Google, Alphabet benefitted financially from the infringing

12   activity of Google when it trained the Google–LAION Models on Plaintiﬀs’ works, and continues to
13   benefit financially from the deployment of the Google–LAION Models.
14             60.     As the corporate parent of Google, Alphabet had the right and ability to supervise the
15   infringing activity of Google when it trained the Google–LAION Models on Plaintiﬀs’ works. Alphabet
16   failed to exercise that right and ability.
17             61.     Plaintiﬀs have been injured by Alphabet’s acts of vicarious copyright infringement.

18   Plaintiﬀs are entitled to statutory damages, actual damages, restitution of profits, and other remedies
19   provided by law.
20
21                                           CLASS ALLEGATIONS
22             62.     The “Class Period” as defined in this Complaint begins on at least April 26, 2021 and
23   runs through the present. Because Plaintiﬀs do not yet know when the unlawful conduct alleged herein
24   began, but believe, on information and belief, that the conduct likely began earlier than the date listed
25   above, Plaintiﬀs reserve the right to amend the Class Period to comport with the facts and evidence
26   uncovered during further investigation or through discovery.
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1             63.     Class definition. Plaintiﬀs bring this action for damages and injunctive relief as a class
2    action under Federal Rules of Civil Procedure 23(a), 23(b)(2), and 23(b)(3), on behalf of the following
3    Class:
4                     All persons or entities domiciled in the United States that own a
5                     United States copyright in any work that Google used as a training
                      image for the Google–LAION Models during the Class Period.
6
7             64.     This Class definition excludes:
8                     a.     Defendants named herein;
9                     b.     any of the Defendants’ co-conspirators;
10                    c.     any of Defendants’ parent companies, subsidiaries, and aﬃliates;
11                    d.     any of Defendants’ oﬃcers, directors, management, employees, subsidiaries,

12                           aﬃliates, or agents;
13                    e.     all governmental entities; and
14                    f.     the judges and chambers staﬀ in this case, as well as any members of their
15                           immediate families.
16            65.     Numerosity. Plaintiﬀs do not know the exact number of members in the Class. This
17   information is in the exclusive control of Defendant. On information and belief, there are at least

18   thousands of members in the Class geographically dispersed throughout the United States. Therefore,
19   joinder of all members of the Class in the prosecution of this action is impracticable.
20            66.     Typicality. Plaintiﬀs’ claims are typical of the claims of other members of the Class
21   because Plaintiﬀs and all members of the Class were damaged by the same wrongful conduct of
22   Defendant as alleged herein, and the relief sought herein is common to all members of the Class.
23            67.     Adequacy. Plaintiﬀs will fairly and adequately represent the interests of the members of
24   the Class because the Plaintiﬀs have experienced the same harms as the members of the Class and have
25   no conflicts with any other members of the Class. Furthermore, Plaintiﬀs have retained sophisticated
26   and competent counsel who are experienced in prosecuting federal and state class actions, as well as
27   other complex litigation.
28
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1              68.      Commonality and predominance. Numerous questions of law or fact common to each
2    Class member arise from Defendants’ conduct and predominate over any questions aﬀecting the
3    members of the Class individually:
4                a. Whether Defendants violated the copyrights of Plaintiﬀs and the Class when they
5                      obtained copies of Plaintiﬀs’ copyrighted images and used them to train the Google–
6                      LAION Models.
7                b. Whether any aﬃrmative defense excuses Defendants’ conduct.
8                c. Whether any statutes of limitation constrain the potential for recovery for Plaintiﬀs and
9                      the Class.
10             69.      Other class considerations. Defendants have acted on grounds generally applicable to
11   the Class. This class action is superior to alternatives, if any, for the fair and eﬃcient adjudication of

12   this controversy. Prosecuting the claims pleaded herein as a class action will eliminate the possibility of
13   repetitive litigation. There will be no material diﬃculty in the management of this action as a class
14   action.
15             70.      The prosecution of separate actions by individual Class members would create the risk
16   of inconsistent or varying adjudications, establishing incompatible standards of conduct for
17   Defendants.

18
19                                         DEMAND FOR JUDGMENT
20             Wherefore, Plaintiﬀs request that the Court enter judgment on their behalf and on behalf of
21   the Class defined herein, by ordering:
22                   a) This action may proceed as a class action, with Plaintiﬀs serving as Class
23                      Representatives, and with Plaintiﬀs’ counsel as Class Counsel.
24                   b) Judgment in favor of Plaintiﬀs and the Class and against Defendant.
25                   c) An award of statutory and other damages under 17 U.S.C. § 504 for violations of the
26                      copyrights of Plaintiﬀs and the Class by Defendant.
27                   d) Destruction or other reasonable disposition of all copies Defendants made or used in
28                      violation of the exclusive rights of Plaintiffs and the Class, under 17 U.S.C. § 503(b).
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1               e) Pre- and post-judgment interest on the damages awarded to Plaintiﬀs and the Class, and
2                   that such interest be awarded at the highest legal rate from and after the date this class
3                   action complaint is first served on Defendant.
4               f) Defendants are to be jointly and severally responsible financially for the costs and
5                   expenses of a Court approved notice program through post and media designed to give
6                   immediate notification to the Class.
7               g) Further relief for Plaintiﬀs and the Class as may be just and proper.
8
9                                       JURY TRIAL DEMANDED
10          Under Federal Rule of Civil Procedure 38(b), Plaintiﬀs demand a trial by jury of all the claims
11   asserted in this Complaint so triable.

12
13   Dated: April 26, 2024                                 By:       /s/ Joseph R. Saveri
                                                                     Joseph R. Saveri
14
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